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 4                             UNITED STATES DISTRICT COURT
 5                                    DISTRICT OF NEVADA
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 7                                                )
     UNITED STATES OF AMERICA,                    )       2:06-CR-00234-PMP-GWF
 8                                                )
                      Plaintiff,                  )                 ORDER
 9                                                )
     v.                                           )
10                                                )
     JONATHON LEON TOLIVER,                       )
11                                                )
                      Defendant.                  )
12                                                )
13             On March 31, 2008, following trial before a jury, Defendant Jonathan Toliver was
14   convicted of 19 criminal offenses, including Violent Crime in Aid of Racketeering (VICAR),
15   and use of a firearm in connection with the murder of Gilbert Henry on September 13, 2004.
16   On July 10, 2008, the Court sentenced Toliver to life imprisonment plus a total of 50 years on
17   the 19 counts of conviction. Toliver filed a timely appeal which was dismissed by the United
18   States Court of Appeals for the Ninth Circuit on May 21, 2010. On February 28, 2011, the
19   United States Supreme Court denied Toliver’s Petition for Certiorari.
20             On February 6, 2012, Toliver filed a pro se Motion to Vacate, Set Aside, or Correct
21   Criminal Convictions and Sentence Pursuant to 28 U.S.C. § 2255 (Doc. #626). The Court
22   appointed the Federal Public Defender to represent Toliver, and on May 20, 2013, Toliver’s
23   Amended Motion to Vacate, Set Aside, or Correct Criminal Convictions and Sentence Pursuant
24   to 28 U.S.C. § 2255 (Doc. #665) was filed.
25             Toliver’s Amended Motion has been the subject of extensive briefing. On July 10,
26   2014, an evidentiary hearing was conducted at which Defendant Toliver offered the testimony
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 1   of his former trial and appeal counsel, Natman Schaye. Thereafter, post-evidentiary briefs were

 2   filed, and Toliver’s Amended Motion is now ripe for decision.

 3              In Defendant Toliver’s words, “the thematic problem with this case is that the

 4   Government turned violations of state criminal law into a federal case.” Toliver argues that the

 5   Government contrived a hybrid gang, called “Squad-Up,” to link Toliver and other co-

 6   Defendants in a racketeering enterprise which the Government knew did not exist. Thus,

 7   argues Toliver, the Government violated his due process right to a fair trial and a unanimous

 8   jury verdict.

 9              Next, Toliver argues that the Government violated his Fifth Amendment Due Process

10   Right to a Fair, Trial, and Sixth Amendment Right to Assistance of Counsel, by a “constant

11   pattern of defense witness intimidation, hiding impeachment and exculpatory evidence, and

12   affirmatively misleading Toliver about the extent of the evidence against him.”

13              Third, Toliver argues that the Court’s jury instructions on the dominant purpose

14   prong for the racketeering charge contains directed verdict language that deprived Toliver of

15   his Constitutional Right to Unanimous Jury. Finally, Toliver argues that he was denied the

16   effective assistance of counsel by the deficient performance of his trial counsel, Natman

17   Schaye.

18              In it’s Responses to Defendant Toliver’s Amended Motion and Post-Hearing

19   Briefing (Docs. #673 and #738), the Government argues that the evidence adduced at trial

20   proved that Squad-Up was a “racketeering enterprise” under VICAR, and that Toliver, among

21   other things, participated in the murder Gilbert Henry for the purpose of promoting his position

22   in the enterprise. This Court agrees.

23              Toliver’s argument that the Government somehow contrived Squad-Up as a hybrid

24   gang is simply not supported by the evidence in the record. Moreover, Toliver failed to raise

25   this specific argument on direct appeal, and having failed to show the requisite cause and

26   prejudice, Toliver’s first claim is procedurally defaulted. Withrow v. Williams, 507 U.S. 680,

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 1   720-721 (1993), and Massaro v. United States, 538 U.S. 500, 504 (2003).

 2              The Government argues that Defendant Toliver’s Second and Third Grounds for

 3   relief were raised on direct appeal, and were rejected. Thus, contends the Government,

 4   Toliver’s Second and Third Grounds for relief are impermissible successive claims. Molina

 5   v. Rison, 886 F.2d 1124, 1129 (9th Cir. 1989). Again, the Court agrees.

 6              The record adduced at trial, and argued on the briefs and during the evidentiary

 7   hearing conducted in this case, do not support Toliver’s claim that the Government engaged

 8   in a pattern of defense witness intimidation, hid exculpatory or impeaching evidence, or

 9   affirmatively misled Toliver about the extent of the evidence against him. Similarly, Toliver’s

10   challenge to the jury instructions given in this case has been fully litigated at trial, and on

11   appeal, and the Court finds nothing raised in Toliver’s instant § 2255 petition warrants a

12   different result on the merits. Ultimately, Toliver fails to show that his trial was unfair or the

13   verdicts reached unworthy of confidence. Downs v. Hoyte, 232 F.3d 1031(9th Cir. 2000).

14              Toliver’s fourth claim of ineffective assistance of counsel was the principle focus

15   of the evidentiary hearing conducted on July 10, 2014. The testimony of Natman Schaye,

16   Toliver’s counsel at both trial and on direct appeal, was extensive, and included several

17   instances in which Schaye acknowledged what he now recognizes as errors or failures to do

18   things that may have been helpful to Toliver’s defense. However, viewing the testimony of

19   Schaye in its entirety against the totality of the evidence adduced at trial, the Court finds that

20   Schaye’s representation did not fall below an objective standard of reasonableness, nor did

21   deficiency in Schaye’s performance prejudice Toliver so as to warrant relief in accord with

22   Strickland v. Washington, 466 U.S. 668 (1984). As a result, the Court finds that Toliver’s

23   fourth ground for relief fails.

24              Finally, the Government states in its Opposition (Doc. #673), that it does not object

25   to the relief requested in Ground 4(B) of Toliver’s Amended Motion regarding merger of his

26   four VICAR-attempted murder convictions with four corresponding VICAR-aggravated assault

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 1   convictions. These issues were conceded by the Government when raised by Defendant

 2   Toliver’s co-Defendant, Donnie Bryant, on direct appeal, and the United States Court of

 3   Appeals for the Ninth Circuit ordered this Court to vacate Bryant’s four VICAR-attempted

 4   murder convictions, and their corresponding 924(c) convictions. Although Toliver did not raise

 5   these issues on direct appeal, the Government states it has no objection to this Court vacating

 6   Defendant Toliver’s convictions on Counts Seven, Eight, Nine, Eleven, Twelve, Thirteen,

 7   Fourteen, and Sixteen. The Court will do so, but notes further that vacating these particular

 8   counts does not impact the primary sentence received by Defendant Toliver pursuant to his

 9   conviction in Count One.

10             IT IS THEREFORE ORDERED that Defendant Jonathon Toliver’s Amended

11   Motion to Vacate, Set Aside, or Correct Criminal Convictions and Sentence Pursuant to 28

12   U.S.C. § 2255 (Doc. #665) is DENIED except to the limited extent that Defendant Toliver’s

13   convictions and sentences are vacated as to Counts Seven, Eight, Nine, Eleven, Twelve,

14   Thirteen, Fourteen, and Sixteen.

15             IT IS FURTHER ORDERED that the Clerk of Court shall forthwith enter an

16   Amended Judgment which eliminates Defendant’s conviction and sentence for Counts Seven,

17   Eight, Nine, Eleven, Twelve, Thirteen, Fourteen, and Sixteen.

18             DATED: January 21, 2015.

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                                                   PHILIP M. PRO
21                                                 United States District Judge

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